UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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COURTNEY LINDE, et al.,

                                    Plaintiffs,                 REPORT AND RECOMMENDATION
                  -v-
                                                                CV-04-2799 (NG)(VVP)
ARAB BANK, PLC.,
                                                                AND ALL RELATED CASES1
                                    Defendant.
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         The plaintiffs have moved for sanctions pursuant to Rule 37(b)(2) of the Federal Rules of

Civil Procedure because of the failure by the defendant to provide court-ordered discovery. The

unproduced discovery consists of financial records and other information located in various

foreign jurisdictions. In prior proceedings in these related actions, familiarity with which is

presumed, the court found that, although the bank secrecy laws of those foreign jurisdictions bar

disclosure of the unproduced discovery, the privacy interests served by those laws had to yield to

the interests served by the disclosure of the information in these actions. Linde v. Arab Bank,

PLC, 463 F. Supp. 2d 310, 315-16 (E.D.N.Y. 2006). Notwithstanding that ruling, the defendant

has continued to decline, on foreign bank secrecy law grounds, to produce the information. The

plaintiffs therefore seek an order with a variety of measures to remedy the defendant’s refusal to

produce the information, as well as an award of attorney’s fees and costs for the defendant’s

failure to comply with discovery orders.


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           The following related cases have been consolidated with the instant case for purposes of
discovery and other pretrial proceedings: Philip Litle, et al. v. Arab Bank, PLC, CV-04-5449 (NG)(VVP),
Oran Almog, et al. v. Arab Bank, PLC, CV-04-5564 (NG)(VVP), Robert L. Coulter Sr., et al. v. Arab Bank,
PLC, CV-05-365 (NG)(VVP), Gila Afriat-Kurtzer, et al. v. Arab Bank, PLC, CV-05-388 (NG)(VVP),
Michael Bennett et al. v. Arab Bank, PLC, CV-05-3183 (NG)(VVP), Arnold Roth, et al. v. Arab Bank, PLC,
CV-05-3738 (NG)(VVP), Stewart Weiss, et al. v. Arab Bank, PLC, CV-06-1623 (NG)(VVP), and Joseph
Jesner, et al. v. Arab Bank, PLC, CV-06-3869 (NG)(VVP).
I. LEGAL AND JURISPRUDENTIAL CONSIDERATIONS

        Rule 37 of course authorizes the court to impose sanctions for a party’s failure to produce

discovery. See Fed. R. Civ. P. 37(b). Although the degree of culpability of the offending party is

a consideration in determining an appropriate sanction, sanctions may be imposed even if a party

has not acted wilfully or in bad faith, because sanctions serve not only a punitive function but the

remedial function of restoring the prejudiced party to the same position he would have been in

absent the non-production of evidence by the opposing party. Residential Funding Corp. v.

Degeorge Fin. Corp., 306 F.3d 99, 108 (2d Cir. 2002) (quoting Turner v. Hudson Transit Lines, Inc.,

142 F.R.D. 68, 75 (S.D.N.Y. 1991). The Restatement (Third) of the Foreign Relations Law of the

United States (hereinafter “Restatement”), to which the Supreme Court and courts in the Second

Circuit look to resolve issues involving the production of evidence in violation of the laws of

foreign jurisdictions, see, e.g., Société Nationale Industrielle Aérospatiale v. U.S. Dist. Court, 482

U.S. 522, 541-46 (1987); United States v. Davis, 767 F.2d 1025, 1033-34 (2d Cir. 1985); Minpeco,

S.A. v. Conticommodity Serv., Inc., 116 F.R.D. 517, 529-30 (S.D.N.Y. 1987), likewise recognizes

the propriety of sanctions even in the absence of fault or bad faith. Section 442 of the

Restatement thus provides that

        a court may, in appropriate cases, make findings of fact adverse to a party that has
        failed to comply with the order for production, even if that party has made a good
        faith effort to secure permission from the foreign authorities to make the
        information available and that effort has been unsuccessful.

Restatement (Third) § 442 (2)(c). In this litigation, the court has already determined that the

withheld evidence is essential to the proof of the plaintiffs’ case. Linde, 463 F. Supp. 2d at 311-

12. Accordingly, some sanction must be imposed if for no other reason than to restore the


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“evidentiary balance” that has been disturbed by the non-production of important evidence.

Turner, 142 F.R.D. at 75.

        Rule 37(b)(2) provides broad discretion to a district court in fashioning an appropriate

sanction when a party withholds evidence in breach of discovery obligations. Residential Funding,

306 F.3d at 107. Severe sanctions such as entry of default or dismissal of claims may be imposed

in extreme circumstances. See, e.g., Shcherbakovskiy v. Da Capo Al Fine, Ltd., 490 F.3d 130, 140

(2d Cir. 2007) (citing John B. Hull, Inc. v. Waterbury Petroleum Prods., Inc., 845 F.2d 1172, 1176

(2d Cir. 1988). Ordinarily, however, severe sanctions require a determination that a party’s

failure to comply with discovery obligations is due to wilfulness or bad faith, e.g., Daval Steel

Prods. v. M/V Fakredine, 951 F.3d 1357, 1367 (2d Cir. 1991), and before imposing severe

sanctions the court must consider whether lesser sanctions will provide an effective remedy. See,

e.g., Shcherbakovskiy, 490 F.3d at 139-40; West v. Goodyear Tire & Rubber Co., 167 F.3d 776, 779

(2d Cir. 1999); Outley v. City of New York, 837 F.2d 587, 591 (2d Cir. 1988). Lesser available

sanctions include orders directing that “designated facts be taken as established for purposes of

the action,” or precluding the offending party from offering evidence concerning designated

matters. Fed. R. Civ. P. 37(b)(2)(A)(i) and (ii). Adverse inference instructions are also an

option. See, e.g., Société Internationale Pour Participations Industrielles et Commerciales, S. A. v.

Rogers, 357 U.S. 197, 212-13(1958); Residential Funding, 306 F.3d at 107 (citing Reilly v. Natwest

Markets Group Inc., 181 F.3d 253, 267 (2d Cir. 1999)).

        The court’s broad discretion in fashioning sanctions must be guided by several important

considerations. The sanction must be “just,” see Fed. R. Civ. P. 37(b)(2)(A), and “the severity of

the sanction must be commensurate with the non-compliance.” Shcherbakovskiy, 490 F.3d at

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140; accord, Daval Steel Prods., 951 F.3d at 1368. As noted above, sanctions serve both a

punitive and a remedial purpose. Whether a sanction serves those purposes and is

“commensurate with the non-compliance” requires the weighing of two objective factors: (1) the

intent of the party withholding evidence – that is, whether the party is motivated by a bad faith

desire to deprive the court of evidence that would be damaging to it; and (2) the likely content of

the withheld evidence – that is, what would the evidence likely prove. See Turner, 142 F.R.D. at

74; accord, Kronisch v. United States, 150 F.3d 112, 127 (2d Cir. 1998) (“Once a court has

concluded that a party was under an obligation to preserve the evidence that it destroyed, it must

then consider whether the evidence was intentionally destroyed, and the likely contents of that

evidence.”). The first factor informs the punitive function of sanctions, while the second informs

the remedial function.

II. THE SANCTIONS TO IMPOSE

       Determining what sanctions to impose begins with an analysis of the two factors

identified above – the defendant’s intent in withholding evidence and the content and

significance of that evidence.

       A.      INTENT

       The facts on this question are decidedly mixed. As explained in more detail in the

discussion below regarding their content, the withheld bank records bear directly on a central

element of the plaintiffs’ proof here – whether the defendant provided financial services to

terrorists. Without that evidence the plaintiffs face a difficult, and perhaps insurmountable,

hurdle in establishing their case. The defendant, of course, has argued that the evidence would

actually establish that they have not knowingly provided financial services to terrorists.

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Nevertheless, the fact that the withheld records may disclose a large volume of payments and

other transactions made to or for the benefit of terrorists, as well as other information linking the

defendant’s accountholders to terrorist organizations, furnishes a powerful incentive to withhold

them.

        On the other hand, there is no question that the Bank faces a difficult choice in deciding

whether to produce the information at issue here. The court previously determined, and the

plaintiffs do not dispute, that disclosure of the information would violate the laws of foreign

jurisdictions and expose not only the Bank, but its employees, to criminal sanctions in those

jurisdictions. Linde, 463 F. Supp. 2d at 313. As the Supreme Court noted in a similar context,

“fear of criminal prosecution constitutes a weighty excuse for nonproduction.” Société

Internationale, 357 U.S. at 211. It is difficult to assess how real that threat actually is, as the

defendant has not brought to the court’s attention any prosecutions or other penalties that the

Bank, or any bank in those jurisdictions for that matter, has ever faced for violations of the laws

in question. Nevertheless, compliance with the disclosures ordered by the court would expose

large volumes of protected information relating to the defendant’s accountholders in derogation

of specific warnings already given to the defendant by foreign authorities in response to the

Bank’s requests for authorization to make the disclosures ordered by this court. Clearly,

compliance with the court’s order carries some risk for the defendant.

        The plaintiffs cast doubt on the extent to which the defendant actually fears any risk of

adverse consequences for violating foreign bank secrecy laws by pointing out that the defendant

has previously produced documents in violation of those laws – including documents relevant to

the claims here – to federal regulatory authorities and pursuant to a grand jury subpoena during a

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federal criminal investigation. They argue that the defendant’s decision to produce some

protected documents to federal authorities, while refusing to produce other protected documents

here, is evidence of bad faith because it demonstrates that the defendant has chosen whether or

not to make disclosures based, not on whether disclosure will violate bank secrecy laws, but on

whether disclosure will help them or hurt them in a given situation. The plaintiffs point to

Remington Prods., Inc. v. North Am. Philips Corp., 107 F.R.D. 642 (D. Conn. 1985), where the

court found the defendant to be acting in bad faith when it refused to produce documents on

grounds that to do so violated a Dutch blocking statute.2 Among other reasons supporting that

finding, the court there pointed out that the defendant had chosen to ignore the same blocking

statute in an earlier case when disclosure of the same types of information served their interests.

Id. at 654-55. The situation here is somewhat different, however, because the defendant’s prior

disclosure was made to governmental authorities, whose requests are typically viewed as

exemplifying strong national interests particularly in criminal proceedings. See, e.g., In re Grand

Jury Subpoena dated August 9, 2000, 218 F. Supp. 2d 544, 562-63 (S.D.N.Y. 2002); see also

Restatement § 442 rep. note 9 (1987). Arguably the defendant would be less fearful that foreign

governments would pursue sanctions against it for disclosures made to governmental authorities

than for disclosures made in private civil litigation. It is also noteworthy that the Bank’s




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          The “blocking statute” at issue in Remington Products differs significantly from the bank secrecy
laws involved here. The Dutch law prevented the disclosure of broad ranges of information only in
antitrust cases, and was enacted for the specific purpose of frustrating enforcement of United States
antitrust law. See Remington Prods., 107 F.R.D. at 651-52. In contrast, the bank secrecy laws here prevent
disclosure of specific types of information to anyone, whether for purposes of litigation or any other
purpose.

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disclosures to United States governmental authorities is not public information, and the fact that

those disclosures were made apparently remains unknown to foreign authorities.

        Moreover, the defendant points out that, in contrast to the situation in Remington

Products, the defendant has made various good faith efforts, some of which have been quite

successful, to obtain permission to produce substantial quantities of documents otherwise

prohibited from disclosure. The bank secrecy laws involved here permit disclosure of protected

information with the consent of those to whom the information pertains. The defendant thus

has obtained the permission of the Saudi Committee for the Support of the Intifada Al Quds

(“Saudi Committee”) to disclose all documents relating to transactions handled by the defendant

on the Saudi Committee’s behalf, resulting in the production of some 180,000 transactional

documents. The defendant also sought and obtained the permission of the Lebanese Special

Investigation Commission (“SIC”) to produce documents relating to an account at a Lebanese

branch which was held in the name of an individual who has been identified as a high-ranking

member of HAMAS. In addition, the defendant made a number of unsuccessful efforts, first

through its own petitions to governmental authorities and then through letters rogatory signed by

the court, to obtain permission from authorities in Lebanon, Jordan, and at the Palestinian

Monetary Authority to disclose documents within those jurisdictions. Except for the one request

granted by the SIC above, those requests were denied.3 Finally, the defendant has disclosed to

the plaintiffs the records that were previously disclosed to federal authorities as mentioned above.



        Early on in the discovery process, before sending the letters rogatory, the defendant had
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succeeded in petitioning a lower court in Jordan for permission to disclose records subject to that country’s
bank secrecy law. The lower court ruling was overturned upon the appeal of one of the affected
accountholders.

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Overall, the defendant’s efforts have resulted in the disclosure of over 200,000 documents that

are subject to bank secrecy laws.

       The plaintiffs challenge the good faith of the defendant on several additional grounds.

They argue that the defendant’s second request to the Lebanese SIC for authorization to disclose

records relating to several accounts in Lebanon is not evidence of good faith because it was made

in a manner calculated to fail. The request was made by letter dated September 25, 2006, prior

to this court’s determination that the defendant was required to produce documents

notwithstanding the prohibitions of foreign bank secrecy laws. The plaintiffs find fault with the

letter because it advised the SIC that the claims in these cases were baseless and that a decision

by this court had “provided for respecting confidentiality laws in the countries of these accounts.”

Arab Bank Letter to SIC, Sept. 25, 2006, at p. 2 (found at Ungar Decl. Ex. 40). The plaintiffs

argue these assertions were false because the court’s decision denying the defendant’s motion to

dismiss the claims had already demonstrated that the claims were not baseless and because the

question whether foreign “confidentiality laws” would be “respected” had not yet been decided.

The false assertions, in the plaintiffs’ view, tended to encourage denial of the request, similar to

unsuccessful requests that were made in Remington Products which the court there found to be

evidence of bad faith.

       Although the letter could have been more forceful in its effort to convince the SIC to

permit disclosure, the court does not find as much fault in it as the plaintiffs. One can hardly

expect a litigant applying to a governmental agency such as the SIC, which is charged with

investigating terrorism, not to deny, in strong terms, any complicity in terrorist conduct that is

alleged against it by others. As to the statement that this court had “provided for respecting

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confidentiality laws,” that statement was a reference to this court’s statement in an early order

concerning foreign discovery which asserted that the order did not constitute “a ruling

concerning the laws, rules and regulations applicable in other countries that limit the disclosure

of documents (hereinafter “bank secrecy laws”), or the appropriate remedies, if any, for the

failure or refusal by the defendant to produce documents because of bank secrecy laws.” Doc.

Prod. Order, Mar. 3, 2006 ¶ 12. That statement obviously recognized the potential applicability

of foreign bank secrecy laws, and the possibility that such laws might interfere with production of

documents here. The Bank’s characterization of that statement as one that “provided for

respecting confidentiality laws” is not inaccurate and does not constitute evidence of bad faith.

       Finally, the plaintiffs point to two discovery disputes where the defendant’s opposition to

discovery demands on relevance grounds was overruled by the court as further evidence of the

defendant’s general lack of good faith in conducting discovery. Neither dispute involved foreign

bank secrecy laws. It is of course common for parties to resist discovery based on arguments that

the discovery is irrelevant, and also common that such arguments are rejected. In the

circumstances, the court is not prepared to find that the overruled assertions of lack of relevance

here constitute any evidence of bad faith.

       On balance, although the court is not convinced that the defendant has acted in the

utmost good faith in withholding evidence subject to foreign bank secrecy laws, the court cannot

find that it is acting in bad faith. As the Second Circuit observed in Reilly v. Natwest Markets

Group Inc., “failures [to produce relevant evidence] occur ‘along a continuum of fault – ranging

from innocence through the degrees of negligence to intentionality.’ ” 181 F.3d 253, 267-68 (2d

Cir. 1999) (quoting Welsh v. United States, 844 F.2d 1239, 1246 (6th Cir. 1988)). The court is

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unable to determine precisely where on that continuum the defendant’s refusal to produce

discovery lies, but doubts about the defendant’s motivations must be tempered with the

acknowledgment that the defendant has undertaken a number of steps contemplated to permit

disclosure of documents prohibited by foreign bank secrecy laws, and by virtue of those steps has

been able to produce a substantial quantity of documents sought by the plaintiffs.

       B.      CONTENT

       The withheld evidence consists of a variety of bank records as well as incomplete

responses to requests for admissions. The unproduced documents were the subject of various

discovery orders entered by the court, but were ultimately narrowed and set forth in a production

order entered by the court on May 7, 2007 (hereinafter the “Document Production Order”) after

the court had overruled the defendant’s objections to discovery based on foreign bank secrecy

laws. Briefly described, the unproduced documents fall into the following categories:

       (1)     account documents and transaction records for all individuals who received
               payments from the Saudi Committee;
       (2)     account documents and transaction records for a listed group of 36 entities which
               purport to be charitable organizations but which the plaintiffs allege act as fronts
               for HAMAS;
       (3)     account documents and transaction records for 8 organizations (including
               HAMAS) designated as either terrorist organizations or their affiliates and 56
               individuals alleged to be agents of those organizations; and
       (4)     records, including wire transfer records, for 8 organizations that have been listed
               by the United States government as Specially Designated Global Terrorists.

The requests for admissions the defendant declined to answer were made in the Plaintiffs’ First

Set of Requests for Admissions and Related Interrogatories and asked the defendant to

authenticate various documents that appeared to be business records of the defendant but which

had been seized from third parties.


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        Understanding the significance of the withheld evidence requires consideration of the

theories of proof the plaintiffs will pursue to establish their claims. The plaintiffs will seek to

prove two factual theories. First, they will seek to prove that the defendant helped to administer

a so-called “death and dismemberment benefit plan” under which the Saudi Committee made

cash payments to terrorists and to their family members or other representatives which served as

an incentive for suicide bombers and others who killed or caused injuries to the plaintiffs. The

defendant’s role, according to the plaintiffs, included distributing the payments through its

branches in the West Bank and Gaza in accordance with instructions provided by the Saudi

Committee. Second, apart from the death and dismemberment plan, the plaintiffs will seek to

prove that the defendant provided financial services – such as the opening of accounts, wire

transfers, and other activities to facilitate the transmission of funds – to various organizations and

individuals who were acting as fronts for HAMAS, a designated foreign terrorist organization,

and to several other designated foreign terrorist organizations.

        Given those two theories of liability, the importance of the withheld documents is readily

apparent. The transaction records constitute direct evidence of financial services. Account

records and other information would serve to identify the accountholders and others for whom

those financial services were provided, and would thus provide direct evidence about whether

any of those financial services were provided to terrorist organizations and individual terrorists or

their relatives either as part of the death and dismemberment benefit plan or to fund other

activities. It would also permit the plaintiffs to follow money trails, to see whether funds and

other financial services provided to ostensibly legitimate entities ended up in the hands of

terrorists and terrorist organizations, or were used for terrorist activities. There is little doubt

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that the withheld information would yield at least some information about financial services that

were provided by the Bank to terrorists. The Saudi Committee records produced by the

defendant disclose that payments distributed by the defendant on behalf of the Saudi Committee

were made to persons who were identified as having committed terrorist attacks. Other records

produced by the defendant and other evidence obtained by the plaintiffs establish that the

defendant provided financial services to some of the entities alleged by the plaintiffs to be

“fronts” for HAMAS. It would require a suspension of disbelief to conclude that the only

financial services the Bank ever provided to those alleged by the plaintiffs to be terrorists or their

affiliates are reflected in the documents that have been produced. The full extent of any such

financial services can thus only be proven through an examination of the withheld evidence.

       C.      SANCTIONS PROPOSED BY THE PLAINTIFFS

       The court turns now to an examination of the specific sanctions requested by the

plaintiffs. The plaintiffs have submitted a proposed order that would impose essentially three

kinds of sanctions. The proposed order (1) deems various facts central to the plaintiffs’ claims to

be established, (2) deems certain documents to be authentic business records of the defendant,

and (3) precludes the defendant from offering evidence withheld on grounds of foreign bank

secrecy as well as testimony that could be cross-examined through the use of such evidence.

               1.      Facts To Be Deemed Established

       The facts the plaintiffs ask to be deemed established are found in the first eight numbered

paragraphs of the proposed order they have submitted on this motion. Five of the paragraphs

concern factual findings with respect to the death and dismemberment benefit plan; the other



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three concern findings with respect to the providing of financial services to HAMAS and other

terrorist organizations either directly, or through fronts or agents.

                         a.      Findings Concerning the Death
                                 and Dismemberment Plan

        The five proposed findings concerning the death and dismemberment plan are various

iterations on the same theme. Thus, the first reads:

                At all relevant times between 2000 and 2004, Arab Bank provided
        financial services on behalf of the Saudi Committee in Support of the Intifada Al
        Quds to more than one thousand terrorists or to the relatives or representatives of
        terrorists (including the relatives or representatives listed as account holders in
        paragraphs 2-10 of the Plaintiffs’ Joint Modified Phase I Request for the
        Production of Documents to Defendant Arab Bank, PLC (June 27, 2005),
        incorporated in Decision and Order (July 27, 2005)), affiliated with Hamas, PIJ,
        PFLP or the Al Aqsa Martyrs Brigade, knowing or intending that the financial
        services were to be used, in full or in part, in preparation for, or in carrying out,
        terrorist acts.4

Pl. Proposed Order ¶ 1. The second proposed finding is virtually identical except that it does not

specify any particular number of terrorists and applies to terrorists not affiliated with a foreign

terrorist organization like those identified in the first proposed finding. The third proposed

finding is different from the second in two respects: it states that Arab Bank “knowingly provided

financial services” rather than simply “provided financial services,” and it applies both to

terrorists affiliated with the foreign terrorist organizations identified in the first proposed finding

and to terrorists unaffiliated with any foreign terrorist organization. The fourth proposed finding

asserts that Arab Bank agreed with the Saudi Committee to provide financial services to

terrorists whether or not they were affiliated with a terrorist group, and the fifth asserts that the


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         “PIJ” refers to the Palestinian Islamic Jihad and “PFLP” refers to the Popular Front for the
Liberation of Palestine.

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Bank agreed with the Saudi Committee to provide financial services to the terrorists affiliated

with the foreign terrorist organizations identified in the first proposed finding “knowing that the

financial services provided material support within the meaning of 18 U.S.C § 2339A(b)(1) to

these foreign terrorist organizations.”

       Each of the five paragraphs seek essentially two kinds of findings: one concerning the

actual provision of financial services to various categories of individuals and another concerning

the knowledge or state of mind of the defendant with respect to those financial services. To the

extent that these proposed findings seek to deem established the fact that Arab Bank provided

financial services on behalf of the Saudi Committee to terrorists, including terrorists affiliated

with specified foreign terrorist organizations and terrorists unaffiliated with terrorist groups, they

are reasonably commensurate with the Bank’s non-compliance with the court’s discovery orders.

The documents withheld by the Bank includes information about the identities of the

accountholders and other recipients of payments distributed by the Bank on behalf of the Saudi

Committee, as well as transaction records reflecting the amounts and timing of those payments.

The withheld documents would also reflect other transactions conducted by, and financial

services provided to, those who received payments from the Saudi Committee. By withholding

all records relating to those who received payments, the Bank has deprived the plaintiffs of the

opportunity to prove the identities of all the terrorists to whom financial services were provided

and the full scope of the financial services that were provided. And, because the plaintiffs are

unable to learn the identities of the terrorists to whom financial services were provided, they are

unable to establish whether or not they were affiliated with foreign terrorist organizations such as

HAMAS and the others listed in their proposed findings.

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        Given the importance of the withheld evidence as demonstrated above, an order that

deems established that Arab Bank provided financial services to terrorists affiliated with the

foreign terrorist organizations identified by the plaintiffs, as well as to terrorists unaffiliated with

terrorist groups will serve the remedial function of placing the plaintiffs in substantially the

position they would have been in had the defendant complied with the court’s discovery orders

and prevents the defendant from gaining an advantage from non-compliance.

        On the other hand, as to the defendant’s knowledge or state of mind in the plaintiffs’

proposed findings – i.e., those deeming established the knowledge and intent of the defendant in

providing financial services and that the defendant had an agreement with the Saudi Committee

to provide financial services with certain knowledge and intent – the findings go beyond that

remedial function. There has been no showing that the withheld evidence would be likely to

provide direct evidence of the knowledge and intent of the Bank in providing the financial

services at the heart of this case or in entering an agreement, if any, with the Saudi Committee.

        For much the same reason, an adverse inference instruction concerning the defendant’s

state of mind is also unwarranted. Such an instruction requires, among other things, a sufficient

showing that unproduced material is “relevant,” that is, that it would be of such a nature that it

would tend to prove the opposing party’s claim. See, e.g., Residential Funding, 306 F.3d at 107-09;

Kronisch, 150 F.3d at 127 (“before we permit the drawing of an adverse inference, we require

some showing indicating that the destroyed evidence would have been relevant to the contested

issue”). Here, although the unproduced material is clearly “relevant” to the claim that the Bank

provided financial services to terrorists, a sufficient showing that it would tend to prove the claim



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that the Bank did so knowingly or intentionally has not been made.5 The plaintiffs should of

course be permitted to bring to the jury’s attention that numerous records were not produced,

and to make arguments about how those missing records could have shed light on the Bank’s

knowledge and intent. But without a clearer showing that the unproduced material could

provide direct evidence of the Bank’s state of mind, an instruction by the court about the

inferences to be drawn from the absent records is not warranted.

                         b.      Findings Concerning Financial Services To
                                 HAMAS and Other Foreign Terrorist Organizations

        As noted earlier, separate from the death and dismemberment benefit plan, the plaintiffs

will seek to establish that the defendant provided financial services to entities that have been

designated as foreign terrorist organizations (“FTOs”) by the federal government. The facts that

the plaintiffs seek to deem established with respect to this theory are contained in three

paragraphs in their proposed order, each of which deals with a separate group of entities or

individuals. The first of the three relates to the charitable organizations which allegedly serve as

fronts for FTOs, and contains the following factual findings:

                At all relevant times between 1994 and 2004, Arab Bank provided
        financial services to the entities listed in Document Production Order, Appendix


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          An adverse inference instruction also requires a showing that the withholding party acted “with a
culpable state of mind.” See, e.g., Residential Funding, 306 F.3d at 107-08. In spoliation cases, where the
standards for adverse inference instructions have been primarily developed, that inquiry is satisfied if
evidence has been destroyed “knowingly, even if without intent to [breach a duty to preserve it], or
negligently.” Id. No Second Circuit decision has yet discussed what constitutes a “culpable state of mind”
in a situation like the one here where the withholding of evidence is intentional, but arguably justified by
concerns about the consequences of violating foreign laws. Nevertheless, the defendant’s decision not to
comply with the court’s order likely suffices to establish the necessary “culpable state of mind.” Justifiable
or not, that decision prevents the plaintiffs from obtaining necessary evidence, and thus is not unlike the
destruction of evidence because of simple negligence, which constitutes a sufficiently “culpable state of
mind” for an adverse inference instruction. See id.

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       A (May 7, 2007, and June 26, 2007), knowing that each entity was operated and
       controlled by an organization that is a foreign terrorist organization, or knowing
       that the entity was operated and controlled by an organization that has engaged in
       or engages in terrorist activity or terrorism within the meaning of 18 U.S.C. §
       2339B(a)(1), including any activity that was the basis for the designation.

Proposed Order ¶ 6. (The entities listed in the Appendix A referred to above are all ostensibly

charitable organizations.)

       The second of the three paragraphs contains similar findings but relates to 56 individuals,

listed in an Appendix B to the Document Production Order, who are alleged to be agents of

FTOs. The findings proposed by the plaintiff with respect to those individuals are that the

defendant provided financial services to those individuals “knowing that the individual was an

agent for an organization that is a foreign terrorist organization, or knowing that the individual

was an agent for an organization that has engaged in or engages in terrorist activity or terrorism

within the meaning of 18 U.S.C. § 2339B(a)(1), including any activity that was the basis for the

designation.”

       The final paragraph relates to four FTOs – HAMAS, the Palestinian Islamic Jihad, the

Popular Front for the Liberation of Palestine, and the Al Aqsa Martyrs Brigade – and four

organizations known to be their affiliates. The findings proposed by the plaintiff assert that the

defendant provided financial services to those eight entities knowing that they were either FTOs

or “organizations that have engaged in or engages in terrorist activity or terrorism within the

meaning of 18 U.S.C. § 2339B(a)(1), including any activity that was the basis for the

designation.”

       In analyzing the factual findings set forth in the above three paragraphs, the court again

draws a distinction between findings concerning the provision of financial services and findings

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concerning the defendant’s knowledge about the entities and individuals to whom the financial

services were rendered. As to the provision of financial services, documents produced by the

defendant and other evidence obtained by the plaintiffs from other sources establish that the

defendant did provide some financial services directly to several of the charitable organizations

covered in the first paragraph and to several of the individuals covered in the second. As to

those entities and individuals, findings that they received financial services are hardly necessary.

The question for the court is whether it is appropriate to deem established that the Bank

provided financial services to all of the other entities and individuals covered by the three

paragraphs including HAMAS and the other FTOs.

       In the absence of any evidence that the defendant actually provided financial services to

those other entities covered by the factual findings proposed by the plaintiffs, the more

appropriate remedy for restoring the evidentiary balance is an adverse inference instruction that

permits the jury to draw the inference, based on the fact that the defendant withheld highly

relevant records, that the defendant provided financial services to those individuals and entities

either directly or indirectly. That the withheld records could provide such proof is hardly

debatable. Any documents concerning accounts held by any of those entities and individuals

and transactions conducted on their behalf would provide direct evidence that the defendant

provided them with financial services. More importantly, the withheld documents would also

provide information concerning the sources and beneficiaries of funds flowing through their

accounts. To the extent that those sources and beneficiaries of funds could be connected to the

four FTOs, the withheld documents would serve to establish that the defendant provided

financial services, indirectly, to the FTOs. Account opening documents, which would provide

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the names and other identifying information about those with signature authority on the

accounts, could conceivably also provide information linking the charitable organizations and

individuals to the FTOs. By declining to produce complete information concerning the

charitable organizations and individuals alleged to be acting on behalf of the FTOs, the

defendant has deprived the plaintiffs of a clear opportunity to obtain evidence proving that the

defendant also provided financial services, at least indirectly, to the FTOs.

       Although the withheld documents are of a nature that they would clearly establish

whether financial services were provided to the entities and individuals named by the plaintiffs,

the likelihood that they would provide evidence concerning the knowledge of the defendant

about the connection between those financial services and terrorist organizations and activities is

decidedly less clear. It is certainly conceivable that withheld documents concerning the

charitable organizations and the individuals referred to in the proposed findings would provide

some information disclosing an affiliation with the FTOs. At least one document produced

relating to one individual for whom the Bank provided financial services contains a notation

referring to “Hamas.” But any documents disclosing such connections between charitable

organizations or individuals, on the one hand, and the FTOs, on the other, would serve only as

circumstantial evidence that the Bank knew they were either controlled by or acting as agents of

those FTOs, as the plaintiffs have asked the court to find. Indeed, absent a confession,

knowledge and intent are always matters of circumstantial evidence. Accordingly, as with the

factual findings proposed concerning the defendant’s knowledge with respect to the Saudi

Committee payments, the factual findings proposed by the plaintiffs concerning the defendant’s

knowledge with respect to the financial services that the defendant provided, or may have

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provided, to charitable organizations and individuals are not adequately supported by the record

developed thus far. Neither the proposed factual findings nor an adverse inference instruction

are warranted with respect to the defendant’s knowledge or state of mind.

       2.      The Requests for Admissions

       Under Rule 36, if a party fails to provide a proper response to a request for admission,

“the court may order either that the matter is admitted or that an amended answer be served.”

Fed. R. Civ. P. 36(a)(6). As the court has specifically overruled the defendant’s bank secrecy

objections to the plaintiffs’ First Set of Requests for Admissions, and the defendant has declined

to serve an amended answer to those requests, the court must order that the matters that the

defendant has refused to answer on bank secrecy grounds are deemed admitted. In addition, to

the extent the requests for admissions asked that the defendant confirm the authenticity of the

defendant’s records obtained from other sources, those records should be deemed admissible as

authentic business records of the defendants.

       3.      The Requested Preclusion Order

       The plaintiffs request an order that would preclude the defendant from offering in

evidence any documents that have been withheld on foreign bank secrecy law grounds. As the

defendant concedes, such an order is appropriate and should be entered. The plaintiffs also seek

the preclusion of any testimony that would be subject to cross-examination with evidence that

has been withheld. Although the court may prohibit a party from introducing designated matters

in evidence, see Fed. R. Civ. P. 37(b)(2)(A)(ii), the preclusion sought by the plaintiffs could be

interpreted to prevent the defendant from offering a broad range of evidence, including

testimony concerning their knowledge about various matters, because the plaintiffs could argue

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that the withheld evidence could provide material to challenge such testimony. Thus, although

limitations on testimony the defendant can offer should be imposed to prevent the defendant

from gaining an unfair advantage from their failure to produce documents, the complete extent

to which testimony should be precluded is best left to trial, when the court can assess the nature

of testimony offered by the defendant and how the plaintiffs are prejudiced by the absence of

records in countering that testimony.

       4.      Attorneys’ Fees and Costs

       Although neither the plaintiffs nor the defendant have addressed this issue in any detail,

the plaintiffs have requested that the defendant be required to pay “their reasonable expenses,

including attorney’s fees, caused by its failure to comply with the discovery orders identified in

the [Plaintiffs’ Proposed] Order.” Pl. Mem. at 31. Rule 37(b)(2)(C) provides that when a party

has failed to comply with a discovery order “the court must order the disobedient party . . . to pay

the reasonable expenses, including attorney’s fees, caused by the failure, unless the failure was

substantially justified or other circumstances make an award of expenses unjust.” Here, given

that disclosure of the information ordered by the court would subject the defendant to criminal

liability, and the Supreme Court’s own observation that “fear of criminal prosecution constitutes

a weighty excuse for nonproduction,” Société Internationale, 357 U.S. at 211, the defendant’s

failure to provide court-ordered discovery is substantially justified and an award of fees and

expenses is therefore not appropriate.

                                         CONCLUSION




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        For the reasons discussed above, I recommend that an order be entered imposing the

following sanctions on the defendant for failure to comply with discovery orders:6

        1.      A direction that the following facts be deemed established for purposes of these
                actions: between 2000 and 2004 the defendant provided financial services on
                behalf of the Saudi Committee in Support of the Intifada Al Quds to numerous
                terrorists or to the relatives or representatives of terrorists affiliated with
                HAMAS, PIJ, PFLP or the Al Aqsa Martyrs Brigade, as well as terrorists or the
                relatives or representatives of terrorists not affiliated with any terrorist
                organizations.

        2.      An instruction to be given to every jury that addresses the issue of liability
                advising that because the defendant has refused to produce relevant documents in
                its possession the jury may, but are not required, to infer that the records would
                prove that during the period from 1994 to 2004 the defendant provided financial
                services, either directly or indirectly, to foreign terrorist organizations – including
                HAMAS, the Palestinian Islamic Jihad, the Popular Front for the Liberation of
                Palestine, and the Al Aqsa Martyrs Brigade – and to individuals affiliated with
                foreign terrorist organizations.

        3.      A direction that all requests for admissions in the plaintiffs’ First Set of Requests
                for Admissions which the defendant has declined to answer on foreign bank
                secrecy law grounds are deemed admitted, and that any documents referred to in
                those requests as to which the plaintiffs sought confirmation of their authenticity
                as business records of the defendant are admissible at trial as such.

        4.      A direction that the defendant is precluded from offering in evidence at any trial
                any documents or other information withheld from discovery on bank secrecy law
                grounds.

        *               *                *                *               *               *

        Any objections to this Report and Recommendation must be submitted to Judge Gershon

within 10 days of receipt of this report. Failure to file objections within the specified time waives

the right to appeal any judgment or order entered by the District Court in reliance on this Report


        6
         In view of the nature of the consequences of the court’s decisions concerning sanctions, this
opinion is made in the form of a recommendation, which is subject to de novo review under Rule 72(b),
rather than an order reviewable only for clear error under Rule 72(a).

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and Recommendation. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b); see, e.g., Thomas v. Arn, 474

U.S. 140, 155 (1985); IUE AFL-CIO Pension Fund v. Herrmann, 9 F.3d 1049, 1054 (2d Cir.

1993); Frank v. Johnson, 968 F.2d 298 (2d Cir.), cert. denied, 113 S. Ct. 825 (1992); Small v. Sec’y

of Health and Human Servs., 892 F.2d 15, 16 (2d Cir. 1989) (per curiam).




                                                       VIKTOR V. POHORELSKY
                                                       United States Magistrate Judge
Dated: Brooklyn, New York
       June 1, 2009




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